 

Case 18-11579-KBO Doc 373 Filed 01/21/20 Page 1 of 9

UNTTED STATES BANKRUPTCY COURT

DISTRICT OF DELAWARE

SEW HOLOING Comaxiny, Ing. etal.

Inte Caso No, 18-11579 (CSS ) Jointly Administered
Reporting Period: December 1st through December 31st, 2019

MONTHLY OPERATING REPORT
File with Court and submit copy to United States Trustee within 20 days after end of month,

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Dovamcot Explanation Alfidavit/Supplement

REQUIRED DOCUMENTS Form No, Document  Explalnation Affidavit/Supplament
Attached Attached

   
 

   
  
   

     
   
  

    
   

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Case 18-11579-KBO Doc 373 Filed 01/21/20 Page 3 of9

Inre Case No. 18-11579 (CSS)
Debtor Reporting Period:
December ist through December 31st, 2019
BANK RECONCILIATIONS
Continuntion Sheet for MOR-1
A bank reconciliation must be included for each bank account, The debtor's bank reconciliation may be substituted for this page.
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BALANCE PER BOOKS

+) DEPOSITS IN TRANSIT (ATTACH

~) OUTSTANDING CHECKS (ATTACH
ER (ATTACH EXPLANATION
USTED BANK BALANCE *

* bank balance must

balance books

DEPOSITS IN TRANSIT

CHECKS OUTSTANDING . : Amount ‘ ‘ Amount

OTHER

ACTUAL BANK STATEMENT ATTACHED
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Inre Case No. 18-11579 (CSS)

Debtor Reporting Period:

December 1 through December 31, 2019

SCHEDULE OF PROFESSIONAL FEES AND EXPENSES PAID

This schedule is to include all retained professional payments from case inception to current month.

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Corporate Restructuring 145 4 qurut2-31, 2019 12/23/201 32,477, 5,672.81
Anderson Corroon 12-1 thrul2-31, 2019 . 159,897
Rothschild LLP 12-1 thrul2-31, 2019 128,
Advisors LLC 12-1 thru] 2-31, 2019 | 67,
Mendleson PC 12-1 thrul2-31, 2019
Cohn Reznick LLP 12-1 thrul2-31, 2019

Servicing LLC (Tax) 12-1 thrud2-31, 2019

 

Payor

Payee.

Period Covered
Amount
Approved

FORM MOR-Ib
40107)
Case 18-11579-KBO Doc 373 Filed 01/21/20 Page5of9

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West Springfiatd, 444 01090-9020

866- 959. BANK (2265)
ywoew. bankatunited. com

 

 

 

 

 

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vimothy J. Gernlehr
4 Aldanys way
Sewtown PA 18940
Questions:

(800) 634-7734
Banking @ansadvantans.cer
BMSAcvantage. com

Case: Number: 18-1582 .
case Name: washington Inventory Service, DIP
bedtor

Trusted Number: 580900
Trustee Name: Timothy 3. Berniohp

Trustee
~ SUMMARY OF ACCOUNTS ae
ACL ‘OUNT NUMBER TyPr OF ACCOUAT BNOLNG BALANCE
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ACCOUNT TITLE: Timothy 7, Réralokr ,

    

   

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Case 18-11579-KBO Doc 373. Filed 01/21/20 Page 6 of 9

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bate 2/au/i9 Page 8
Timothy 3. gSerntahr
4 atdans way
Newrown PA 18940
Case Number: 18-11 581 /
Case Name: washington Inventory Service, DLP
Debtor
Trustee Number: $80900
Trustee Nae: Timethy 3. Bernlohr
Trustee
CHECKING MAMXREKENENKA IGS Continued)
DESCRIPTION AMOUNT BALANCE

 

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SIW HOLDING COMPANY, INC, et al
Inre Case No. 18-11579 (CSS) Jointly Administered
Debtor Reporting Period: December Ist through December 31st, 2019

STATEMENT OF OPERATIONS
(Income Statement)

The Statement of Operations is to be prepared on an accrual basis. The accrual basis of accounting recognizes revenue when it is
realized and expenses when they are incurred, regardless of when cash is actually received or paid.

2221432.61

Add: Cost of Labor

Profit Before Other Income &

Earned on Accumulated Cash from Chapter

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*"Insider" is defined in 11 U.S.C. Section 101(31).
FORM MOR-2
(04/07)

NOTE REGARDING DEBTOR INCOME STATEMENT, BALANCE SHEET AND ALL ASSETS OF ENTITY: THE DEBTOR HAS HAD NO OPERATIONS OF ANY TYPE SINCE
JUNE OF 2017. THE SOLE ASSETS ARE CASH INCLUDED IN BANK OPERATING ACCOUNT AND NON QUALIFIED TRUST THAT Has been TRANSFERRED TO DEBTOR ACCOUNT.
TIMOTHY BERNLOHR SERVES AS SOLE DIRECTOR,
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Inre Case No, 18-11579 (CSS) Jointly Admininistered

Debtor Reporting Period: December Ist through December 3 Ist , 2019
SIW Holding Company, !nc. et al.

BALANCE SHEET

    

The Balance Sheet is to be completed on an accrual basis only. Pre-petition liabilities must be classified from postpetition obligations.
ASSETS

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Lease

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Secured Debt

Debt
Unsecured Debt 126027451, 126027451,
AL PRE-PETITION LIABILITIES 126027451, 126027451.

AL LIABILITIES 126027451.4 126027451,

Stock
Paid-in
Partners’ Account
Owner's Account
Retained - Pre-Petition
to Owner
Contributions

 

*"Insider" is defined in 11 U.S.C. Section 101(31),

FORM MOR-3
(04/07)
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